Form NTCPROC




                                    UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
                                            SAN JOSE DIVISION




               NOTICE OF PROCEDURES TO RESTORE TO CONFIRMATION CALENDAR

      Based on the Trustee's Statement of Non−Readiness for Confirmation, this case is hereby placed on the
Trustee's Pending List ("TPL") pursuant to the Chapter 13 Calendar Procedures for the San Jose Division, which may
be found at http://www.canb.uscourts.gov/procedures/sj. Parties in interest do not need to attend the scheduled
confirmation hearing since the plan will not be confirmed, and the case will be taken off calendar at that time.

                          Procedures to Restore to Uncontested Confirmation Calendar

        While on the TPL, the case may be restored at the appropriate time to either the Uncontested Confirmation
Calendar or the Contested Confirmation Calendar for disposition by the court. To restore the matter to the
Uncontested Confirmation Calendar, the Trustee will file a Trustee's Statement of Resolution when all outstanding
objections are resolved, deficiencies have been cured, and the debtor(s) is current on plan payments. The Trustee's
docketing of the Statement of Resolution will cause the court to issue a notice that the restored confirmation hearing
is set on the date of the next available Uncontested Confirmation Calendar and to serve the notice on parties in
interest.

                            Procedures to Restore to Contested Confirmation Calendar

        To restore a contested confirmation matter to calendar so the court can resolve factual or legal issues, any party
in interest (including the debtor(s)) may file and serve in conformity with B.L.R. 9014−1(a) a Notice of Hearing and
Certificate of Service on 28 days' notice to parties in interest. The matter may be set on any Contested Confirmation
Calendar date posted on the court's website, but only if these three conditions are met: (1) the § 341 meeting has
concluded; (2) the parties have met and conferred in good faith (in person or by telephone); and (3) the dispute is
ready to be submitted for resolution, trial setting, evidentiary hearing, or briefing. No later than 14 days before the
hearing, the noticing party shall file a Chapter 13 Status Conference Statement identifying: (a) the disputed factual
and legal issues; (b) the date and time when the parties conferred; and (c) the time estimate for trial or argument. If
the Chapter 13 Status Conference Statement is not timely filed, the matter will be stricken from calendar. Matters
stricken from the Contested Confirmation Calendar must be re−noticed for hearing by submitting a new Notice of
Hearing, Certificate of Service, and Chapter 13 Status Conference Statement.




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